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                               United States District Court
                                        EASTERN DISTRICT OF MISSOURI

J.B.


                  Plaintiff,

                               v.                                       CASE NUMBER: 4:16CV1394 ERW

MISSOURI BAPTIST HOSPITAL
OF SULLIVAN, et al.,


                  Defendants.


                                          JUDGMENT IN A CIVIL CASE

☒         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has
          returned its verdict.

☐         Directed Verdict. This action came before the Court for a trial by jury, the Court having sustained defendant's
          motion for judgment as a matter of law at the close of plaintiffs' case;

☐         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
          decision has been rendered.

          IT IS HEREBY ORDERED AND ADJUDGED that on the claim of Plaintiff J.B. for personal injuries against

Defendant Shamim Amini, M.D. and BC Missouri Emergency Physicians, LLP., the Plaintiff recover nothing, the action be

dismissed on the merits.



                                                                        Gregory J. Linhares
                                                                        CLERK OF COURT
February 16, 2018
DATE
                                                               By:      /s/ Melanie C. Berg
                                                                        DEPUTY CLERK
